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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

EXXON MOBIL CORPORATION,                   §
                                           §
         Plaintiff,                        §
                                           §
v.                                         §    Civil Action No. 4:16-CV-469-K
                                           §
ERIC TRADD SCHNEIDERMAN,                   §
Attorney General of New York, in his       §
official capacity, and MAURA TRACY         §
HEALEY, Attorney General of                §
Massachusetts, in her official capacity,   §
                                           §
         Defendants.                       §
                                           §
                                           §

                                       ORDER

         Before the Court are: (1) Defendant New York Attorney General’s Motion to

Quash and for a Protective Order (Doc. No. 135); and (2) Defendant Attorney

General Healey’s Motion for a Stay Pending Appellate Review and Points and

Authorities in Support of the Request (Doc. No. 140) (collectively “Defendants’

Motions”).




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      After careful consideration of Defendants’ Motions, the responses, the replies,

the supporting appendices, and the applicable law, the Court DENIES Defendants’

Motions and all requested relief.

      SO ORDERED.

      Signed December 9th, 2016.

                                      ______________________________________
                                      ED KINKEADE
                                      UNITED STATES DISTRICT JUDGE




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